IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA
1:24CR236-1

Vv.

ANTHONY HURDLE

EXHIBIT 1

1. $1,580.00 in U.S. CURRENCY;

2. $2,235.00 in U.S. CURRENCY;

3. GLOCK GMBH 22 Pistol CAL:40 SN:GVN645;

A, PALMETTO STATE ARMORY PA-15 receiver/frame CAL: Multi
SN:SCNL219128;

5. SARSILMAZ (SAR ARMS) SAR 9C Pistol CAL:9 SN:T1102-
24CY01310;

6. PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME CAL:
Multi SN:SCNL204657;

7. PHOENIX ARMS CO HP22A deluxe range Pistol CAL:22
SN:4625760;

8. RUGER LCP Pistol CAL:380 SN:3872599731;

EXHIBIT

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GIRSAN MC 1911 S Pistol CAL:45 SN:T6368-24DU00453;
GIRSAN MC 1911 SC Pistol CAL:45 SN:T6368-24BF00270;
GLOCK INC 17GEN5 Pistol CAL:9 SN:BLKW274;

GLOCK INC 17GEN5 Pistol CAL:9 SN:BMLB784;

RUGER LCP Pistol CAL:380 SN:372599728;

CANiK METE mc9 Pistol CAL:9 SN:23CT73569;

TISAS - TRABZON GUN INDUSTRY CORP 1911A1
STAKEOUT Pistol CAL:45 SN:T0620-24K01581;

ADLER SILAH SANAYIT CENTURION BP-12 Shotgun CAL:12
SN:24US-18362;

Mossberg 715P Pistol CAL:22 SN:CP2206240;

EAA Disruptor PISTOL CAL:9 SN:T6368-24CJ00490;

SAVAGE STANCE PISTOL CAL:9 SN:AA04572;

HAA MC1911 PISTOL CAL:45 SN:T6368-22AB04064;

EAA MC1911 PISTOL CAL:45 SN:T6368-24DR00860;
FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:MULTI
SN:A-35369;

EAA MC1911SC Untouchable PISTOL CAL:45 SN:T6368-
24BF01151;

MASTERPIECE ARMS DEFENDER PISTOL CAL:9

SN:FX54632;

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GLOCK INC. 17GEN5 PISTOL CAL:9 SN:BMLB775;
EAA mc1911sc PISTOL CAL:45 SN:T6868-24BF00915;
MASTERPIECE ARMS DEFENDER PISTOL CAL:9

SN: FX54708;

TISAS 1911 PISTOL CAL:45 SN:T0620-24K01524;

EAA MC28SAT PISTOL CAL:9 SN:T6368-21AV12945;
GLOCK INC. 17GEN4 PISTOL CAL:9 SN:BAGR923;
EAA MCP35 PISTOL CAL:9 SN:T6368-22HU06092;
Canik METE PISTOL CAL:9 SN:24CT25502;

SAVAGE STANCE PISTOL CAL:9 SN:AA04603;

GLOCK INC. 48X PISTOL CAL:9 SN:CBHC909;
STANDARD MANUFACTURING COMPANY, LLC 8333;
THUNDERSTRUCK REVOLVER CAL:22 SN:SVF037316;
SAVAGE STANCE PISTOL CAL:9 SN:AA12727;

GLOCK GMBH 22 PISTOL CAL:40 SN:CVK071US;
GLOCK INC 43 PISTOL CAL:9 SN:BEET214;

TAURUS THE JUDGE REVOLVER CAL:45/410 SN:AGC081641;
TAURUS 856 REVOLVER CAL:38 SN:AEG509440;
TISAS PX-9 GEN3 PISTOL CAL:9 SN:T062023DC00069;
GLOCK INC 22GEN4 PISTOL CAL:40 SN:AAGH082;

EAA MC1911SC PISTOL CAL:9 SN:T6368-24ER00858;

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44. NORINCO (NORTH CHINA INDUSTRIES) SKS RIFLE
CAL:762 SN:C21002100;

45. EAA MC9 Disruptor PISTOL CAL:9 SN:T6368-24CJ00514;

46. GLOCK GMBH 19GEN5 PISTOL CAL:9 SN:CCAX910;

47. GLOCK INC 17GEN5 PISTOL CAL:9 SN:BGLT120;

48. GLOCK INC 17GEN5 PISTOL CAL:9 SN:BGLT244;

49. RUGER SECURITY-9 PISTOL CAL:9 SN:387-23142;

50. GLOCK INC 48X PISTOL CAL:9 SN:AKCH090;

51. GLOCK INC 43 PISTOL CAL:9 SN:ADYA223;

52. GLOCK INC 43 PISTOL CAL:9 SN:AHDDOO0;

538. GLOCK INC 26GEN5 PISTOL CAL:9 SN:AHYV830;

54. PHOENIX ARMS CO HP22A PISTOL CAL:22 SN:4625759;

55. Old West Firearms SBG DERRINGER CAL:38 SN:002435;

56. TOKAREV SAVUNMA SILAH SANAYI (TOKAREV ARMS) TBP
12 SHOTGUN CAL:12 SN:52-H23YB-003384;

57. GForce GF9 Rapture PISTOL CAL:9 SN:GF92200238;

58. Old West Firearms SBG DERRINGER CAL:380 SN:002556;

59. GForce GF9 Rapture PISTOL CAL:9 SN:GF92201597;

60. Old West Firearms SBG DERRINGER CAL:380 SN:002363;

61. Smith & Wesson MP Shield PISTOL CAL:40 SN:JPL2058;

62. Canik METE PISTOL CAL:9 SN:24CT22298;

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Palmetto State Armory 5.7 Rock PISTOL CAL:57 SN:RKO42982;
GLOCK INC 40GEN4 PISTOL CAL:10 SN:BZDB830;
MASTERPIECE ARMS DEFENDER PISTOL CAL:9

SN: FX546386;

GLOCK GMBH 19 PISTOL CAL:9 SN:BXFT414;

GLOCK GMBH 22 PISTOL CAL:40 SN:GVN467;

Iver Johnson Stryker SHOTGUN CAL:12 SN:21E-8663;

Century Arms Nova RIFLE CAL:9 SN:RON2155851;
PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:MULTI SN:DCSF904404;

KELTEC, CNC INDUSTRIES, INC SUB-2000 RIFLE CAL:40
SN: FH7859;

FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:MULTI
SN:A-35221;

RIA-USA VRF-14 SHOTGUN CAL:12 SN:21-03220;

FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:MULTI
SN:A-31557;

TAURUS INTERNATIONAL GX4 PISTOL CAL:9 SN:GD19016;
GLOCK GMBH 48X PISTOL CAL:9 SN:AKDP914;

GForce Rapture PISTOL CAL:9 SN:GF92200269;

Smith & Wesson MP Shield PISTOL CAL:45 SN: JRX1344;

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Smith & Wesson MP Shield PISTOL CAL:40 SN:JPL2045;
Century Arms Micro Draco PISTOL CAL:762 SN:USD002382;
Iver Johnson Stryker SHOTGUN CAL:12 SN:21E-8664;
Century Arms Nova RIFLE CAL:9 SN:RoN2155854;

ET Arms Omega 15 RIFLE CAL:MULTI SN:EV04138;

Bear Creek Arsenal BC9 RIFLE CAL:9 SN:9-2321;

Iver Johnson Stryker SHOTGUN CAL:12 SN:21E-8612;

Iver Johnson Stryker SHOTGUN CAL:12 SN:21E-8682;

Iver Johnson Stryker SHOTGUN CAL:12 SN:21E-8597;
Century Arms Micro Draco PISTOL CAL:762 SN:USD002357;
Iver Johnson Stryker SHOTGUN CAL:12 SN:21E-8646;

G Force Arms GF25 SHOTGUN CAL:12 SN:24ASS-4515;
GLOCK INC. 48X PISTOL CAL:9 SN:AKCH255:

FNH USA, LLC 509 PISTOL CAL:9 SN:GKS0352336;

EAA MC1911 PISTOL CAL:45 SN:T6368-22AB04060;

EAA MC1911SC PISTOL CAL:45 SN:T6868-24BF00920;
Combat Armory CA19 PISTOL CAL:9 SN:990100380;

EAA MC1911SC Untouchable PISTOL CAL:45 SN:T6368-
24BF 00897;

MASTERPIECE ARMS DEFENDER PISTOL CAL:9

SN:FX54702;

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Springfield Armory Hellcat PISTOL CAL:9 SN:DB504041;
EAA MC1911SXLV PISTOL CAL:45 SN:T6368-22AB04059;
Canik METEMC9 PISTOL CAL:9 SN:24CT14119;

FNH USA LLC 509 PISTOL CAL:9 SN:GKS0351669;

RUGER SECURITY-9 PISTOL CAL:9 SN:387-22995;

RUGER SECURITY-9 PISTOL CAL:9 SN:387-23141;
MASTERPIECE ARMS DEFENDER PISTOL CAL:9

SN: FX54706;

RUGER SECURITY-9 PISTOL CAL:9 SN:387-23178;

EAA MC28SAT PISTOL CAL:9 SN:T63868-21AV12946;
RUGER SECURITY-9 PISTOL CAL:9 SN:387-23181;

SCCY DVG1 PISTOL CAL:9 SN:D017914;

Century Arms Micro Draco PISTOL CAL:762 SN:USD002347;
EAA Girsan MC 1911S PISTOL CAL:9 SN:T63868-24DU00470;
Tokarev Ravage SHOTGUN CAL:12 SN:52-H24YD-0092;

Iver Johnson Stryker SHOTGUN CAL:12 SN:21E-8596;
PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:MULTI SN:SCD287809;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME

CAL:MULTI SN:SCD287068;

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PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:MULTI SN:DCSF618042;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:MULTI SN:LW4387068;

RUGER LCP MAX PISTOL CAL:380 SN:R75-516208;
TAURUS INTERNATIONAL G2C PISTOL CAL:9
SN:AED345583;

TAURUS G8C PISTOL CAL:9 SN: AEE449696;

GLOCK GMBH 48X PISTOL CAL:9 SN:AKAGS802;
RUGER SECURITY-380 PISTOL CAL:3880 SN:387-08548;
GLOCK GMBH 48X PISTOL CAL:9 SN:AKDP802;
GLOCK GMBH 17GEN5 PISTOL CAL:9 SN:BLKW372;
TAURUS INTERNATIONAL G2C PISTOL CAL:9
SN:AEM922287;

Taurus UltraLight REVOLVER CAL:38 SN:AEJ682395;
Taurus UltraLight REVOLVER CAL:38 SN:AEM694701;
Taurus PT140 G2A PISTOL CAL:40 SN:AEG523541;
Taurus TX22C PISTOL CAL:22 SN:1TJ036195;
Springfield Armory XP5 PISTOL CAL:45 SN:BF161433;
STANDARD MANUFACTURING COMPANY, LLC $333

THUNDERSTRUCK REVOLVER CAL:22 SN:SVF032113;

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TISAS PX9 GENS PISTOL CAL:9 SN:T062023DC00388;
SCCY CPX4 PISTOL CAL:380 SN:A025641;

SCCY DVG1 PISTOL CAL:9 SN:D018080;

SCCY DVG1 PISTOL CAL:9 SN:D018209;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:MULTI SN:DCSF904405;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:MULTI SN:SCD746175;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:MULTI SN:SCD288396;

FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:MULTI
SN:A-382886;

Springfield Armory XD Pistol CAL:9 SN:BE272281;

Canik METEMC9 PISTOL CAL:9 SN:24CT14088;

Smith & Wesson MP Shield PISTOL CAL:45 SN:JRX1345;
EAA Girsan Regard MC PISTOL CAL:9 SN:T6368-24A01356;
EAA MC1911S PISTOL CAL:45 SN:T6368-23AB02975;
EAA MCP35 PISTOL CAL:9 SN:T6368-22EKU006105;

EAA MC28SAT PISTOL CAL:9 SN:T6368-21-AV12929;

ET Arms Omega 15 RIFLE CAL:MULTI SN:EV04143;
Century Arms Micro Draco Pistol CAL:762 SN:USD002316;

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GForce Arms GF25 SHOTGUN CAL:12 SN:24ASS-4513;
BEAR CREEK ARSENAL BCA10 Rifle CAL:Multi SN:F026833;
Century Arms Micro Draco Pistol CAL:762 SN:USD001778;
Henry Repeating Arms H004 Rifle CAL:22 SN:GB883866;
Canik METEMC9 Pistol CAL:9 SN:24CT22390;

Mossberg 590S Shotgun CAL:12 SN:V1713073;

TAURUS INTERNATIONAL GX4 Pistol CAL:9 SN:GX4M931VL;
KELTEC, CNC INDUSTRIES, INC. KS7 Shotgun CAL:12
SN:24Q0142;

Iver Johnson Stryker SHOTGUN CAL:12 SN:21E-8665;
TAURUS INTERNATIONAL TX22 PISTOL CAL:22
SN:1TJ040296TX22C;

KELTEC, CNC INDUSTRIES, INC. KS7 Shotgun CAL:12
SN:24Q0144;

Smith & Wesson Bodyguard 2.0 Pistol CAL:380 SN:PKL6230;
GForce Arm GFY-1 Shotugn CAL:12 SN:24BLP-13071;
GLOCK GMBH 19X Pistol CAL:9 SN:CCFV875;

TISAS Stackout Pistol CAL:9 SN:T0620-24K01527;
KELTEC, CNC INDUSTRIES, INC. SUB-2000 Rifle CAL:40
SN:FH7Z52;

Rock Island Armory MAPP1MS Pistol CAL:9 SN:KAR15009;

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RUGER SECURITY-9 Pistol CAL:9 SN:387-23183;

SIG SAUER (SIG-ARMS) P320 Pistol CAL:9 SN:58H341987;
Springfield Armory XD Elite Pistol CAL:9 SN:BA509062;
DPMS INC.DEFENSE PROCUREMENT MFG. SERVICES)
PANTHER LR-308 Rifle CAL:308 SN:FFK051167;

RIA-USA VRPF-14 Shotgun CAL:12 SN:380-2348;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:MULTI SN:8CB750337;

Smith & Wesson MP Shield Pistol CAL:40 SN:JPL2860;
FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi
SN:A-353857;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:SCB749110;

Smith & Wesson Bodyguard 2.0 Pistol CAL:380 SN: KHP1887;
FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi
SN:A-385355;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:SCB750325;

RUGER LCP MAX Pistol CAL:380 SN:R75-516191;
FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi

SN:A-353850;

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PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:DCSF113827;

Canik METE Pistol CAL:9 SN:23CT73567;

FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi
SN:A-35356;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:SCD750322;

FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi
SN:A-35358;

FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi
SN:A-35351;

FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi
SN:A-35354;

Smith & Wesson MP Shield Pistol CAL:45 SN:JRX1325;
MAGNUM RESEARCH, INC DESERT EAGLE Pistol CAL:50
SN:DKO0116654;

GLOCK INC 48 Pistol CAL:9 SN:ZSN930;

EAA MC19118SC Untouchable Pistol CAL:45 SN:T6368-
24BF00707;

EAA MC1911SXKLVPistolCAL:45SN:T6368-

22AB04058;

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BAA MC1911SC Pistol CAL:45 SN:T6368-24BF00708;

SIG SAUER (SIG-ARMS) MPX Pistol CAL:Multi SN:62H032274;
SIG SAUER (SIG-ARMS) P320 Pistol CAL:9 SN:58J580281;
TAURUS G2S Pistol CAL:9 SN:AGC081221;

TAURUS INTERNATIONAL G2C Pistol CAL:9 SN:AEM897094;
TAURUS INTERNATIONAL G2C Pistol CAL:9 SN:AEM921399;
Old West Firearms SBG DERRINGER CAL:380 SN:002365;

Old West Firearms SBG DERRINGER CAL:380 SN:002364;

Old West Firearms SBG DERRINGER CAL:380 SN:002268;

ET Arms Omega 15 Rifle CAL:Multi SN:V04144;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:SCB7515381;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:DCSF906808;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:DCSF906809;

RUGER LCP Pistol CAL:380 SN:372599730;

GLOCK INC 26 Pistol CAL:9 SN:CBBU890;

TAURUS 856 Revolver CAL:38 SN:AEG505172;

TAURUS G8C Pistol CAL:9 SN:AEE449820;

GLOCK GMBH 17GEN5 Pistol CAL:9 SN:BLKW295;

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Taurus TX22C Pistol CAL:22 SN:1TJ040072;

GLOCK INC 19X Pistol CAL:9 SN:CDPFO056;

SIG SAUER (SIG-ARMS) MPX Pistol CAL:Multi SN:62H030611;
RIA-USA VRPF-14 Shotgun CAL:12 SN:30-02341;

KELTEC, CNC INDUSTRIES, INC KS7 Shotgun CAL:12

SN:24Q0141;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME

CAL:Multi SN:SCB748955;

RIA-USA VRF-14 Shotgun CAL:12 SN:21-03221;

RIA-USA VRF-14 Shotgun CAL:12 SN:21-03222;:

RIA-USA VRPF-14 Shotgun CAL:12 SN:30-00561;

KAA Untouchable Pistol CAL:45 SN:T6368-24BF00914;
Combat Armory CA19 Pistol CAL:9 SN:99010037;
PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:SCB751538;

CHARTER ARMS SHELTON,CT (CHARTER 2000) MAG PUG
Revolver CAL:357 SN:238F 13078;

PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME
CAL:Multi SN:DCSF118987;

EAA Untouchable Pistol CAL:45 SN:T6368-24BF00921;

TISAS PX9GENS Pistol CAL:9 SN:T062023DC00085;

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225. Springfield Armory XDM Elite Pistol CAL:9 SN:BA564514;

226. Springfield Armory XDM Elite Pistol CAL:9 SN:BA634012;

227. TISAS PX9GENS Pistol CAL:9 SN:None;

228. FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi
SN:A-35352;

929. FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:Multi
SN:A-35358;

230. Taurus PT140G2A Pistol CAL:40 SN:AEG487201; and

231. GLOCK GMBH 48X Pistol CAL:9 SN:AKLH882.

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